Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5750 Page 1 of 7
Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5751 Page 2 of 7
Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5752 Page 3 of 7
Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5753 Page 4 of 7
Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5754 Page 5 of 7
Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5755 Page 6 of 7
Case 2:05-cr-02075-EFS   ECF No. 1344   filed 06/22/06   PageID.5756 Page 7 of 7
